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     In the United States Court of Federal Claims
                                  No. 17-825
                           (Filed: January 19, 2018)

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SCIENCE APPLICATIONS
INTERNATIONAL CORP.,

                                          Patents; motion to dismiss for
              Plaintiff,                  patent-ineligible subject matter; 35
                                          U.S.C. § 101 (2012); whether
                                          plaintiff’s claims are directed to an
v.                                        abstract idea


THE UNITED STATES,

              Defendant.

**********************

       Christopher C. Campbell, Washington, DC, with whom was DeAnna
D. Allen, for plaintiff.

    Alex Hanna, United States Department of Justice, Civil Division,
Commercial Litigation Branch, Washington, DC, for defendant.

                                   ORDER

       This is a claim for patent infringement. Plaintiff, Science Applications
International Corp. (“SAIC”), claims that the government has infringed four
patents by entering into contracts with plaintiff’s competitors for the
procurement of specialized heads up displays (“HUD”) and night vision
goggles that allegedly use SAIC’s patented technology. Defendant moves to
dismiss for failure to state a claim under Rule 12(b)(6) of the Rules of the
United States Court of Federal Claims (“RCFC”), contending that plaintiff’s
patents claim ineligible subject matter under 35 U.S.C. § 101 (2012).

       At the motion to dismiss stage, we assume that the facts as stated in the
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complaint are true and draw all reasonable inferences in favor of the non-
moving party. Defendant’s motion raises a question of law: whether plaintiff's
patent claims recite patent-eligible subject matter. Accenture Global Servs.,
GmbH v. Guidewire Software, Inc., 728 F.3d 1336, 1340–41 (Fed. Cir. 2013).
Section 101 sets out the list of patentable subject matter: “any new and useful
process, machine, manufacture, or composition of matter, or any new and
useful improvement thereof.” 35 U.S.C. § 101. Although this statutory grant
is expansive, the Supreme Court has held that section 101 is subject to implicit
exceptions for “laws of nature, natural phenomenon, and abstract ideas,”
which are not patentable. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct.
2347, 2354 (2014). These three concepts are ineligible for patenting because
they form the “basic building blocks of human ingenuity.” Alice, 134 S. Ct. at
2354. Claiming a law of nature, natural phenomena, or abstract idea would
preempt its use in future inventions, abusing the purpose of patent law and
hampering the process of human innovation. Id. (citing Mayo Collaborative
Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 71 (2012)).

       The Supreme Court has set out the two-part Alice/Mayo test for
determining whether a patent claims ineligible subject matter. First, this court
must determine whether the patent is directed to a patent-ineligible concept,
such as an abstract idea. Id. at 2355 (citing Mayo, 566 U.S. at 72-73). If the
patent is directed to a patent-ineligible concept, the second step is to
determine, considering the claims “both individually, and ‘as an ordered
combination,’” whether the patent claims sufficiently transform the ineligible
subject matter with an inventive concept. Id. (quoting Mayo, 566 U.S. at 72-
73).

        The Federal Circuit has acknowledged overlap in the two steps in the
Alice/Mayo test, but has emphasized, “[T]he first-stage filter is a meaningful
one, sometimes ending the inquiry.” Elec. Power Grp., LLC v. Alstom S.A.,
830 F.3d 1350, 1353 (Fed. Cir. 2016). The “directed to” inquiry is not simply
asking whether an ineligible concept is involved in the patent claims, because
all inventions “embody, use, reflect, rest upon, or apply” ineligible concepts
to some extent, but rather if the patent is claiming the abstract idea itself.
Mayo, 566 U.S. at 72-73; see also Enfish, LLC v. Microsoft Corp., 822 F.3d
1327, 1335 (Fed. Cir. 2016). The first step “calls upon us to look at the ‘focus
of the claimed advance over the prior art’ to determine if the claim’s ‘character
as a whole’ is directed to excluded subject matter.” Affinity Labs of Texas, LLC
v. DIRECTV Dig. LLC, 838 F.3d 1253, 1257 (Fed. Cir. 2016) (quoting Genetic
Techs. Ltd. v. Merial L.L.C., 818 F.3d 1369, 1375 (Fed. Cir. 2016); Internet

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Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015)).
Under Alice/Mayo step one, when determining if the claim’s character is to
preempt the ineligible concept or if the claim is sufficiently limited, the
Federal Circuit considers the advance or advantages that the claim presents
when compared to prior art and reads the claim language in light of the
specification. Thales Visionix Inc. v. United States, 850 F.3d 1343 (Fed. Cir.
2017); Enfish, 822 F.2d at 1335, 1337; Genetic Techs. Ltd., 818 F.3d at 1375-
76. In addition to the claim’s language and the specification, the first step calls
for comparing the claims at issue to claims that have been found eligible or
ineligible in prior cases. Enfish, 822 F.2d at 1334.

        With that framework, we turn to the parties’ arguments regarding patent
eligibility for each of the four patents at issue and apply the Alice/Mayo first-
stage filter to the patent claims. Both defendant in its motion to dismiss and
plaintiff in its response put forth arguments that apply to all four patent claims.
We therefore will set out the claim language from each patent claim analyzed
in the briefing before considering the parties’ arguments and comparing each
patent’s claim language to claims formerly found eligible or ineligible by the
Federal Circuit.

I.      The SERVAL Patents

       The patents at issue here are U.S. Patent No. 7,787,012 (“the ‘012
Patent”), U.S. Patent No. 8,817,103 (“the ‘103 Patent”), U.S. Patent No.
9,229,230 (“the ‘230 Patent”) and U.S. Patent No. 9,618,752 (“the ‘752
Patent”) (collectively, the “SERVAL patents”). The four patents form two
patent families due to the interrelatedness of the applications. The first patent
family is formed by the ‘012 Patent and the ‘103 Patent; the ‘103 Patent is a
division of the ‘012 Patent. The second patent family is formed by the ‘230
Patent and the ‘752 Patent; the ‘752 Patent is a continuation of the ‘230 Patent.
The four independent claims the parties analyzed in briefing are claim 1 of
‘012 Patent, claim 1 of the ‘103 Patent, claim 15 of the ‘230 Patent, and claim
7 of the ‘752 Patent.1


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  The parties also dispute which claims are representative. In its complaint,
SAIC argues that all four patents have been infringed, but “at least” claim 1 of
‘012 Patent, claim 1 of the ‘103 Patent, claim 15 of the ‘230 Patent, and claim
7 of the ‘752 Patent. Plaintiff discusses these four independent claims in its
complaint without discussing the other independent claims found in its patents.

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       A.     Patent Family One

        The first patent family consists of the ‘012 Patent and the ‘103 Patent.
The ‘012 Patent is entitled “System and Method for Video Image Registration
in a Heads Up Display.” Pl.’s Compl. Ex. A (‘012 Patent). It issued on August
31, 2010, with nineteen claims, all of which are method claims. The
independent claims are claim 1 and claim 17. Claim 1 of the ‘012 Patent
recites:

       1. A method of registering video images with an underlying
       visual field comprising the steps of:

       (1) determining a source orientation of a video source providing
       a video feed containing data for a series of video images
       representing portions of a visual field;

       (2) determining a display orientation of a transparent display
       overlaying the visual field, wherein the video source and the
       transparent display are independently movable about multiple
       axes; and

       (3) displaying the video images in positions on the transparent
       display that overlay portions of the visual field represented by
       the displayed video images,

       wherein boundaries of the displayed video images are in



Defendant designated the four independent claims referenced in the complaint
as representative. Def.’s Mot. to Dismiss 21 n.9, n.11. Plaintiff disputes this
designation and argues that all independent claims should be evaluated when
assessing whether the patents claim eligible subject matter. A representative
claim is one that is determinative of the issue before the court. In re Am. Acad.
Of Sci. Tech Ctr., 367 F.3d 1359, 1364 (Fed. Cir. 2004). We find it
unnecessary to designate the representative claims at this stage, because
evaluating the four independent claims discussed in the briefing is sufficient
to hold that plaintiff’s patents claim eligible subject matter. We encourage the
parties to stipulate to the representative claims.


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       registration with boundaries of portions of the visual field
       represented by the displayed video images.

‘012 Patent col. 9-10.

       The ‘103 Patent is likewise entitled “System and Method for Video
Image Registration in a Heads Up Display.” Pl.’s Compl. Ex. B (‘103 Patent).
The ‘103 Patent is a division of the ‘012 Patent and shares a common
specification with the ‘012 Patent. It issued on August 26, 2014, with twelve
claims. The only independent claim is system claim 1. Claim 1 of the ‘103
Patent recites:

       1. A system comprising:

       a video camera adapted to provide, in a video feed, data for a
       series of video images representing portions of a visual field;

       a first orientation sensor adapted to detect an orientation of the
       video camera;

       a heads up display (HUD) adapted for viewing of the visual field
       by a user of the system wherein the HUD comprises a
       transparent display, and wherein the HUD and the video camera
       are independently movable about multiple axes;

       a second orientation sensor adapted to detect an orientation of
       the HUD; and

       a computer adapted to receive sensor data from the first and
       second orientation sensors, to receive the video feed from the
       video camera, and to display the video images, on the
       transparant [sic] display and based on the received sensor data,
       in positions that overlay portions of the visual field represented
       by the displayed video images wherein boundaries of the
       displayed video images are in registration with boundaries of
       portions of the visual field represented by the displayed video
       images, and wherein the computer is adapted to determine a
       source orientation of the video camera, and determine a display
       orientation of the transparent display.



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‘103 Patent col. 10.

       B.     Patent Family Two

       The second patent family consists of the ‘230 Patent and the ‘752
Patent. The ‘230 Patent is entitled “System and Method for Video Image
Registration and/or Providing Supplemental Data in a Heads Up Display.”
Pl.’s Compl. Ex. C (‘230 Patent). It issued on January 5, 2016, with forty-two
claims. System claim 1, method claim 15, and non-transitory machine-readable
medium 29 are independent claims. Claim 15 of the ‘230 Patent recites:

       15. A method, comprising:

       (a) receiving video images from a first video source and from a
       second video source representing portions of an external
       environment;

       (b) receiving motion data indicative of motion of the first and
       second video sources;

       (c) identifying, based on the received motion data, a part of a
       first video source image that potentially represents a portion of
       the external environment represented in a part of a second video
       source image;

       (d) evaluating, based on a comparison of data from the first and
       second video source images, the identification performed in step
       (c); and

       (e) displaying at least a portion of the first video source image
       and at least a portion of the second video source image such that
       the second video source image portion overlays a corresponding
       region of the first video source image portion, wherein the
       corresponding region represents a portion of the external
       environment represented in the second video source portion.

‘230 Patent col. 26.

       The ‘752 Patent is also entitled “System and Method for Video Image
Registration and/or Providing Supplemental Data in a Heads Up Display.”

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Pl.’s Compl. Ex. D (‘752 Patent). The ‘752 Patent is a continuation of the ‘230
Patent and shares a common specification with the ‘230 Patent. It issued on
April 11, 2017, with eighteen claims. It issued with three independent claims:
system claim 1, method claim 7, and non-transitory machine-readable medium
claim 13. Claim 7 of the ‘752 Patent recites:

       7. A method comprising:

       receiving first video data of images representing portions of an
       external environment within a field of view of a first video
       source;

       receiving second video data of images representing portions of
       the external environment within a field of view of a second
       video source;

       receiving first motion data corresponding to the first video
       source and second motion data corresponding to the second
       video source;

       identifying, based on the received first motion data and the
       received second motion data, a region of a first image generable
       from the first video data for comparison with a region of a
       second image generable from the second video data;

       comparing data corresponding to the identified region of the
       first image and data corresponding to the region of the second
       image; selecting, based on the comparing, a part of the first
       image and a part of the second image that represent a same
       portion of the external environment; and

       displaying at least a portion of the first image and the selected
       part of the second image such that the selected part of the
       second image replaces the selected part of the first image and is
       in registration with regions of the first image surrounding the
       selected part of the first image.

‘752 Patent col. 26.

II.    Section 101 Patent Claim Analysis

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        Defendant contends that SAIC’s patents claim the abstract idea of
superimposing a video image in a location on a display, thereby preempting
future innovation in how images can be manipulated to appear in the same
field of vision. Plaintiff responds that its patents claim methods and systems
of accurately positioning images from two independently movable sources by
using orientation and motion sensors and data in an unconventional way. After
considering the character of each claim in light of its specification, we find
that plaintiff’s patent claims are not directed to an abstract idea.

       The government’s arguments regarding the first and second patent
family can be set out together. Defendant argues that the first patent family
claims are directed to the abstract idea of superimposing video images based
on relative orientation. Defendant contends that the ‘012 and the ‘103 Patents
claim language lacks a concrete structural element, a tie to a particular
machine or transformative process, or an improvement in the computer
technology. Instead, the government argues, the first patent family claims
recite generic computer components and calculations without a required
combination for implementation or some other unique element. The ‘012
Patent claim 1, the government argues, amounts to a monopoly on a process
that can be performed by the human mind, namely “the age-old practice of
looking at a target, through a weapon sight or telescope . . . while looking with
the other eye simultaneously outside of the weapon sight or telescope . . . .”
Def.’s Mot. to Dismiss 23.

        The government argues that the second patent family claims are
directed to the abstract idea of superimposing video images based on relative
motion data. The government contends that the additional feature of
minimizing the need for manual sensor recalibration does not alter the
character of the claims from superimposition of images. It argues that
plaintiff’s claims offer only well-known, patent-ineligible calculations to
accomplish the result of the claims, without providing any patentable structure
or algorithm.

       SAIC responds that none of the claims are directed to the underlying
idea of superimposing images. It contends that claiming the method and
system of registering images based on the use of orientation and motion
sensors does not constitute an abstract idea, avoiding preemption of other
methods of registering images. Plaintiff alleges that its patents focus on
solving a problem in the technology available for registering images by
combining orientation sensors and data, inertial sensors and motion data,

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boundary registration, and independently movable components. SAIC argues
that patent law does not require an improvement in the computer or a tie to a
specific machine or apparatus, but that a patentee may instead patent an
unconventional solution to a problem in a method previously employed in the
industry.

       At a high level, all four claims undoubtedly involve the idea of
superimposition of images. But the Federal Circuit has admonished that just
because the claims involve an abstract idea does not mean that they are
directed to an abstract idea. Rapid Litig. Mgmt. Ltd. v. CellzDirect, Inc., 827
F.3d 1042, 1050 (Fed. Cir. 2016). The question here is whether the claims are
directed to the idea of superimposing one image on another or whether the
claims “recite more than a mere result.” Finjan, Inc. v. Blue Coat Sys., Inc.,
2018 WL 341882, *3 (Fed. Cir. Jan. 10, 2018).

       First, before comparing plaintiff’s claim language to other eligible
subject matter, the claims offer an advance beyond the prior art. The ‘012
Patent claim 1 represents an advance over the prior art by detecting orientation
of a video and display, independently moveable about multiple axes, in order
to register images within accurate boundaries. The third step of the ‘012
method claim ties together orientation detection with the increased accuracy
of how images are displayed, avoiding blurred, duplicative, or obscured
images. The ‘103 Patent claim 1 likewise represents an advance over what
SAIC alleges was previously possible when connecting two fields of vision in
one display. The system recited in ‘103 Patent claim 1 couples orientation
sensors with a HUD, a video feed, and a computer adapted to receive the
orientation data from both sources and then translate the relative orientations
into one display with images within proper boundaries.

        The common specification of the ‘012 Patent and the ‘103 Patent
explains that the prior art also placed one image on top of another, using a
beam combiner, but it could not dynamically compare, adjust, or reposition an
image using orientation data such that the narrower field of vision was
displayed accurately in the transparent display. The prior technique
superimposed by simply placing the narrower field of vision within the broader
field of vision. Although a user could view both fields, the user ran the risk of
mismatched boundaries, repetitive or obscure images, and the inability to
recalculate with movement. Plaintiff’s patent claims purport to solve these
problems in the process of registering two independently moveable fields of
vision.

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       The second patent family claims also offer an advance over the prior
art. Not unlike the ‘012 and ‘103 Patents, the ‘230 and ‘752 Patents are
concerned with the problem of identifying matching regions in two fields of
vision and accurately registering or replacing a portion of what can be viewed
through the transparent display with the matching image from the video feed.
The independent method claim 15 in the ‘230 Patent recites receiving video
images and motion data from two video sources and then using the relative
motion data captured by sensors to identify and evaluate matching portions
before displaying. The common specification explains that the identification
and comparison system dynamically places images within the transparent
display such that matching images appear despite movement of either the
display or the second video source and without obscuring relevant portions of
the scene with mismatched images. The ‘230 and ‘752 Patents also purport to
offer an advance over the requirement for manual recalibration found in prior
approaches. The patent claims minimize the manual recalibration by using the
location comparison data to adjust how “subsequent sensor-based locations are
determined.” ‘752 Patent col. 2, ll. 28-29. Plaintiff’s claims thus build on the
previous techniques for superimposition by increasing accuracy and decreasing
the need for manual adjustments.

       Plaintiff’s patent claims each offer advancement over the prior
approach, but defendant argues that regardless of any advance the SAIC claims
are directed to an abstract idea, because its inventions are tied only to using
conventional sensors and patent-ineligible calculations. Yet the character of
these patent claims is not unlike others that have survived section 101 scrutiny.
The most similar patent claims are found in Thales Visionix, 850 F.3d 1343,
1344. The court held that the claims at issue in Thales Visionix were not
directed to an abstract idea. First, the Thales Visionix claims offered an
improvement to accuracy when “measuring relative position and orientation
of a moving objcet on a moving reference frame.” Id. at 1348. Although the
claims involved a patent-ineligible equation, the patents coupled that equation
with an arrangement of sensors and an unconventional reference point. The
claims constituted an improvement over prior approaches and were limited to
patenting a particular way to measure relative position and orientation, rather
than claiming laws of nature governing motion. Id. at 1346.

      Moreover, the Federal Circuit in Thales Visionix reflected on the
Supreme Court’s decision in Diamond v. Diehr, 450 U.S. 175, 177 (1981), in
which the Court held patent claims eligible despite their inclusion of a
mathematical formula and a generic computer component in a claimed method

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for molding raw, uncured rubber into cured rubber products. The invention in
Diamond used a well-known equation and elements of the prior art, improving
upon what was present in the industry by measuring temperature constantly
from inside the mold such that the opening of the press could be accurately
timed. Id. The invention produced “a result heretofore unknown in the art.” Id.
at 193 n.15. The Supreme Court reasoned that, when a patentee devises a
process in which it incorporates an equation to reach a more efficeint solution,
“that process is at the very least not barred at the threshold by § 101,” even if
it may later be invalidated for lack of novelty or obviousness. Id. at 188. When
plaintiff ’s patent claims are compared to those in Thales Visionix, and in light
of these principles, plaintiff’s patent claims provide the same type of
limitations found in the Thales Visionix claim language as well as an
unconventional solution to problems present in the prior art.

         The Thales Visionix method claim comprised “determining an
orientation of an object relative to a moving reference based on signals from
two inertial sensors mounted respectively on the object and on the moving
reference frame.” Thales Visionix, 850 F.3d at 1345. The ‘012 Patent
independent method claim likewise comprises determining source orientation
of a video source and the source orientation of a transparent display, when
both are “independently movable about multiple axes,” and then displaying the
images such that the boundaries of the displayed images register with the
boundaries of the visual field that match those images. ‘012 Patent col. 9-10.
The ‘012 Patent does not state that sensors will be the tool to accomplish the
orientation detection, but the specification sheds light on the character of the
patent by explaining that sensors are used to allow an adapted control
computer to “dynamically position[] within the visual field.” ‘012 Patent col.
3-4, ll. 67-2.

        The ‘230 and ‘752 method claims do not recite steps in terms of
determining relative orientation, but they provide a comparable level of detail
to the Thales Visionix method claim. The second patent family method claims
combine a first video source and a second video source to create image
registration by “receiving motion data,” “identifying, based on the received
motion data ” the part of the video sources that are identical, performing a
“comparison of data from first and second video source images,” before finally
displaying some portion of the first video source in the second video source.
The ‘230 and ‘752 independent method claims 7 and 15 track the relationship
between two video sources and accompanying motion data rather than tracking
the relationship between an object and a moving reference frame, but both

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inventions use sensors to perform a calculation and provide more accurate
data.

        The system claim language in plaintiff’s ‘103 Patent is also analogous
to the system claim in Thales Visionix. The independent system claim in
Thales Visionix claimed a system comprising: “(1) a first inertial sensor
mounted on a tracked object; (2) a second inertial sensor mounted on the
moving platform; and (3) an element that uses the data from the two inertial
sensors to calculate the orientation of the tracked object relative to the moving
platform, as disclosed in the specification.” 850 F.3d at 1345-46. Plaintiff’s
‘103 independent system claim likewise comprises “a first orientation sensor
adapted to detect an orientation of the video camera;” “a second orientation
sensor adapted to detect an orientation of the HUD;” and “a computer adapted
to receive sensor data from the first and second orientation sensors . . . ,”
coupled with the video camera adapted to provide a feed representing portions
of the visual field and the HUD adopted to view the visual field, both movable
about independent axes. ‘103 Patent col. 10. The specification is useful for
explaining that the calculations that are involved use the sensors and video
feeds to map the calculations to pixels, cropping, discarding, and enhancing
the overlay as necessary. ‘103 Patent col. 6-7. The difference between the two
inventions is that the Thales Visionix claims changed the reference point for
tracking relative orientation to an unconventional moving platform whereas
SAIC purports to introduce a new method and system that was never used
before by employing orientation sensors to relate and overlay location data
between two fields of vision, in addition to solution by “repeat[ing] the process
for each new frame,” ‘103 col. 7, ll. 35-40.

        The government argues that SAIC reaching a more accurate, continuous
result by combining previously known components and a computer adapted to
perform particular calculations is not sufficient to bring the claims within
section 101 eligible subject matter. But the Federal Circuit has also highlighted
the difference between a patent-eligible claim introducing a significantly
improved process that incorporates known components and a patent-ineligible
claim that “recites only ‘well-understood, routine, conventional activity already
engaged in by the scientific community.’” Rapid Litig. Manag. Ltd., 827 F.3d
at 1050-51 (quoting Mayo, 566 U.S. at 73). The Federal Circuit in Thales
Visionix relied on the principle that known techniques or components may be
included in a claim when used in an unconventional way to acquire a new and
useful result.850 F.3d at 1349 (citing Enfish, 822 F.3d at 1337–38).



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       The ‘012 method claim and the ‘103 system claim are directed to
improving the prior process by using known components in an unconventional
way to register images within accurate boundaries. Moreover, the claims
anticipate the use of independently movable image sources such that the
orientation sensing and boundary recognition process must be continuous. The
‘752 and ‘230 method claims further describe how to combine known
components, including inertial sensors, to communicate motion data such that
the images can be accurately aligned and the calibration process can be tied to
the collected location data. SAIC is not required to tie the claim language to
a particular machine or apparatus, Bilski v. Kappos, 561 U.S. 593, 603-04
(2010), nor is SAIC required to demonstrate a change in the computer
technology itself, for that is only one example of a patentable technology
invention, see Alice, 134 S. Ct. at 2351, 2359 (discussing examples of what
constitutes “enough” to transform an abstract idea into an inventive concept).

       Plaintiff’s patents’ claim language does not suffer from the lack of
structure the Federal Circuit identified in Affinity, 838 F.3d at 1259-60. There,
the court concluded that a patent claiming to “disseminate regionally broadcast
content to users outside the region” was directed to an abstract idea because
the claims did not offer anything more concrete than a downloadable
application to accomplish a longstanding business practice. Id. at 1257. Here,
SAIC’s claims disclosing how to accurately identify and place images by
specifically using orientation sensors or motion data to allow a computer to
identify, compare, and adjust images are more concrete than the general
dissemination of content through a downloadable application.

        Moreover, we are not persuaded by defendant’s argument that
plaintiff’s claimed methods can be performed with just the human eye and a
weapon scope. The first patent family claims present a solution to human
limitations and to the problem in the prior art of boundary registration working
in tandem with independently movable axes. Although the human brain is
capable of matching images and evaluating differences, the ‘752 and ‘230
method claims recite a means of automatically and continuously performing
the evaluation without the user needing to adjust the field of vision directly in
front of her. See SiRF Tech., Inc. v. Int’l Trade Comm’n, 601 F.3d 1319, 1333
(Fed. Cir. 2010) (“There is no evidence here that the calculations here can be
performed entirely in the human mind.”). The character of the claim language
for each patent is to combine two fields of vision into one, creating an accurate
feed of images, without the need for the user to focus on the vision through the
weapon sight (or other component) at all.

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       We do, however, share defendant’s concern regarding the degree of
detail SAIC offers in its claim language to explain how the reciept and
identification of images and sensor data translates into accurate
superimposition. The least detailed of the four, the ‘012 Patent claim 1, adds
boundary registration to determining a source orientation and a display
orientation, but does not offer comparatively detailed steps to the other method
claims. Each of the patent specifications also illustrate that any video source,
transparent display source, corded or wireless connection, or brand of sensor
may be employed to complete any of the patented processes. The specifications
uniformly state that the steps prescribed by the claims are not required to be
performed in a particular order.

        The Alice/Mayo test for section 101 analysis, however, is not concerned
with whether an artisan skilled in the art can perform the method claimed by
the patent nor whether the claim language is sufficiently definite, novel, or
non-obvious, but rather whether the character of a claim as a whole is directed
to a patent-ineligible subject matter. Taken on the face of the claims and the
specification, plaintiff’s patents combine existing computer technology,
sensors, and calculations in an unconventional way in order to reach a solution
to the problem of alignment and consistently accurate display. Because SAIC
did not stop at the concept of superimposition but instead provided a solution
for achieving accuracy and consistency in image registration, plaintiff’s claims
are not directed to an abstract idea.

       Given that the patent claims at issue, when considered as a whole and
in light of their specifications, are directed to a particular solution to an
industry problem and deploy an unconventional technique, it is unnecessary to
progress to Alice/Mayo step two to determine whether the patents transform
an abstract idea with an inventive concept. We therefore deny defendant’s
motion to dismiss for failure to state a claim pursuant to RCFC 12(b)(6).


                                                  s/Eric G. Bruggink
                                                  Eric G. Bruggink
                                                  Senior Judge




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